                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:13-cv-00254-MOC-DSC

CELGARD, LLC,                                       )
                                                    )
                    Plaintiff(s),                   )
                                                    )
Vs.                                                 )                ORDER
                                                    )
SK INNOVATION CO., LTD.,                            )
                                                    )
                   Defendant(s).                    )


       THIS MATTER is before the court on review of a Memorandum and

Recommendation issued in this matter. In the Memorandum and Recommendation, the

magistrate judge advised the parties of the right to file objections within 14 days, all in

accordance with 28, United States Code, Section 636(b)(1)(c). Objections have been

filed within the time allowed.

       The Federal Magistrates Act of 1979, as amended, provides that “a district court

shall make a de novo determination of those portions of the report or specific proposed

findings or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1); Camby

v. Davis, 718 F.2d 198, 200 (4th Cir.1983). However, “when objections to strictly legal

issues are raised and no factual issues are challenged, de novo review of the record may

be dispensed with.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir.1982). Similarly, de

novo review is not required by the statute “when a party makes general or conclusory

objections that do not direct the court to a specific error in the magistrate judge’s

proposed findings and recommendations.” Id. Moreover, the statute does not on its face


                                            1

      Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 1 of 7
require any review at all of issues that are not the subject of an objection. Thomas v. Arn,

474 U.S. 140, 149 (1985); Camby v. Davis, 718 F.2d at 200. Nonetheless, a district judge

is responsible for the final determination and outcome of the case, and accordingly the

court has conducted a careful review of the magistrate judge’s recommendation.

       In response to defendant’s Amended Motion to Dismiss or Transfer, plaintiff filed

a motion for jurisdictional discovery, which the magistrate judge allowed. According to

the magistrate judge, this limited discovery was “contentious” and occupies pleadings

numbered 73 through 215. M&R at 4. Notably, the magistrate judge concluded that

       Jurisdictional discovery has revealed precious little, if any, contacts
       between SKI and North Carolina. Contrary to Celgard’s earlier assertions,
       there is no evidence that SKI offered its accused products to Saft. There is
       no evidence that SKI has solicited any other sales in North Carolina and
       none of SKI’s products have been found here.

M&R (#236) at 4.

       After applying the appropriate legal standards provided by the Federal Circuit for

evaluating personal jurisdiction in like of the jurisdiction facts, the magistrate judge

concluded that

       no basis exists for the exercise of personal jurisdiction over SKI in this
       forum. There is no dispute that SKI is not subject to general personal
       jurisdiction. Celgard argues that SKI may be haled into court here pursuant
       to specific jurisdiction under a stream of commerce theory. Despite being
       permitted to conduct extensive jurisdictional discovery, Celgard offers no
       more than it did initially. Even viewing the record entirely in Celgard’s
       favor, there is no indication that SKI has made a sale or even an offer of
       sale in North Carolina. None of SKI’s products have been found in this
       forum. Even assuming arguendo that an SKI component was found in a
       product sold in this state, personal jurisdiction would not exist absent some
       action by SKI directed specifically at North Carolina.

M&R at 7.

                                             2

     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 2 of 7
       Despite plaintiff’s 21 pages of Objections to the magistrate judge’s nine-page

decision (and a five-page Motion for Reconsideration (#240) supported by a seven-page

Brief in Support (#241), which the magistrate judge promptly handled), the court fully

concurs in the magistrate judge’s conclusion that there is no there is no indication that

SKI has made a sale or even an offer of sale in North Carolina and that SKI has not

directed any of its actions specifically at North Carolina. Further, the court also concurs

in the magistrate judge’s legal conclusion that SKI is not subject to national jurisdiction

under Rule 4(k)(2), Fed.R.Civ.P., as such provision is only applicable where the

defendant is not subject to jurisdiction in any state’s courts of general jurisdiction. Here,

SKI consents to be sued in the United States Court for the Southern District of New

York, where it has an employee engaged in marketing its products, and the magistrate

judge further determined that personal jurisdiction would also exist in California, where

SKI provided samples at substantial expense and held meetings with significant corporate

buyers. While recommending dismissal of this action for lack of personal jurisdiction, the

magistrate judge did not address the alternative motion for transfer of venue. The reason

for such demurer is obvious: defendant is subject to suit in two different jurisdictions. If

the court were to transfer the action to one jurisdiction over the other, it would be

selecting the forum, a task which is left to plaintiff to accomplish among those

jurisdictions where personal jurisdiction is properly found.

       The court has carefully reviewed the M&R alongside the Objections. After such

careful review, the court determines that the recommendation is fully consistent with and

supported by current law. Further, the factual background and recitation of issues is

                                             3

     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 3 of 7
supported by the applicable pleadings and the evidence that was presented to the

magistrate judge. Finally, the court has read the Objections and determined that those

objections simply seek to reargue points and evidence fully and properly considered by

the magistrate judge both in the M&R and upon reconsideration.

      Rule 12(b)(2) provides for dismissal where the court lacks personal jurisdiction

over a particular defendant. Federal Circuit law governs personal jurisdiction in patent

cases. IMO Indus., Inc. v. SEIM S.R.L., 2007 WL 1651838, at *1 (W.D.N.C. June 4,

2007). Plaintiff has the burden of proving personal jurisdiction. Thomas v. Centennial

Commc'ns Corp., 2006 WL 6151153, at *2 (W.D.N.C. Dec. 20, 2006). Plaintiff must

show that the exercise of personal jurisdiction over the Defendant complies with the

forum state's long-arm statute and the constitutional requirements of due process.

Grober v. Mako Products, Inc., 686 F.3d 1335, 1345 (Fed. Cir. 2012), reh'g denied

(Sept. 14, 2012). Since North Carolina's long-arm statute extends jurisdiction to the

outer b oundaries of due process, the jurisdiction analysis merges into a single due

process inquiry. Thomas, 2006 WL 6151153, at *2. To be consistent with the

limitations of due process, a defendant must have “minimum contacts” with the forum

state “such that the maintenance of the suit does not offend traditional notions of fair

play and substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316

(1945).   Minimum contacts may be established by showing “general” or “specific”

jurisdiction. Helicopteres Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408, 414

(1984). A court may exercise general jurisdiction over a non-resident defendant if the


                                           4

     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 4 of 7
defendant has contacts with the State that are so “continuous and systematic” as to render

them “essentially at home in the forum State.” Goodyear Dunlop Tires Operations, S.A. v.

Brown, 131 S. Ct. 2846, 2851 (2011).

       In the absence of general jurisdiction, a court may exercise specific jurisdiction

over the defendant in a cause of action that arises out of the defendant’s activities in the

forum state. In analyzing specific jurisdiction over a defendant, the Federal Circuit

considers whether: “(1) the defendant purposefully directed its activities at residents of

the forum state, (2) the claim arises out of or relates to the defendant’s activities with

the forum state, and (3) assertion of personal jurisdiction is reasonable and fair.”

Grober, 686 F.3d at 1346 (citation omitted). Plaintiff has the burden of making a prima

facie showing of specific jurisdiction by satisfying the first two elements. The burden

then shifts to defendant to show that such assertion of personal jurisdiction is not

reasonable and fair. Id.    A prima facie case of personal jurisdiction over an alien

defendant is made by meeting a “stream of commerce” standard. IMO Industries, Inc.,

2007 WL 1651838, at *1 (citing Beverly Hills Fan Co. v. Royal Sovereign Corp., 21

F.3d 1558, 1564-65 (Fed. Cir. 1994)). This standard requires that (1) the alien defendant

placed the accused product into the stream of commerce, (2) the alien defendant knew or

should have known the likely destination of the product, and (3) the alien defendant’s

conduct and connections with the forum state are such that it may reasonably foresee

being haled into court within that forum. Id.; see also Cree, Inc. v. Bridgelux, Inc., 2007

WL 3010532, at *6 (M.D.N.C. July 5, 2007) (declining to exercise personal jurisdiction

over a “component manufacturer [d]efendant . . . on the sole basis that an item is
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     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 5 of 7
found [in the forum state] which incorporates [d]efendant’s product”); QR Spex, Inc. v.

Motorola, Inc., 507 F. Supp. 2d 650, 658 (E.D. Tex. 2007) (“[T]he Court finds that an

exercise of personal jurisdiction under the stream-of-commerce theory is only

appropriate where the allegedly infringing product reaches the forum.”). “A rational

belief that a component or product will eventually end up in a particular state—even

if that belief amounts to a substantial certainty—does not, by itself, amount to

purposeful conduct nor ‘manifest an intention to submit to the power of a sovereign.’”

Freescale Semiconductor, Inc., 2014 WL 1603665, at *6 (quoting J. McIntyre Mach.,

Ltd. v. Nicastro, 131 S. Ct. 2780, 2788 (2011)). The test for reasonableness is a “multi-

factored balancing test that weighs any burdens on the defendant against various

countervailing considerations, including the plaintiff's interest in a convenient forum

and the forum state's interest in resolving controversies flowing from in-state events.”

Viam Corp. v. Iowa Export-Import Trading Co., 84 F.3d 424, 429 (Fed. Cir. 1996). The

Federal Circuit considers five factors in determining whether jurisdiction would be

reasonable: “(1) the burden on the defendant; (2) the interests of the forum state; (3) the

plaintiff's interest in obtaining relief; (4) the interstate judicial system's interest in

obtaining the most efficient resolution of controversies; and (5) the interest of the

states in furthering their social policies.” Id.

       Despite its earlier contentions made upon information and belief, plaintiff has

provided this court with no indication that SKI has ever made a sale or even an offer of

sale in North Carolina and none of SKI’s products have been found in this forum.

Assuming arguendo that plaintiff could point to a SKI component found in a product sold

                                               6

     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 6 of 7
in this state at some point, personal jurisdiction would not exist absent some action by

SKI directed specifically at North Carolina. The fact that some of defendant’s batteries

may end up as a component in another manufacturer’s device is simply not enough, as

this court’s colleague found in Cree, Inc., supra. Based on such determinations, the court

will overrule the objections, fully affirm the Memorandum and Recommendation and

grant relief in accordance therewith.

                                           ORDER

         IT   IS,    THEREFORE,         ORDERED       that    the   Objections   (#246)   are

OVERRULED, the Memorandum and Recommendation (#236) is AFFIRMED, the

Amended Motion to Dismiss (#156) is GRANTED, and this action is dismissed without

prejudice as to refiling in a jurisdiction where personal jurisdiction of this defendant is

found.



         As a matter of housekeeping, all other motions are denied without prejudice as

moot, with the exception of the Motion to Seal (#238) various memoranda as such

contain proprietary business information of little public interest. The court will not seal

this Order as the discussion of defendant’s contacts with the forum state, as well as its

contacts with corporations in other jurisdictions, has avoided specifics to preserve such

business secrets while providing the public with access to the court’s reasoning for

dismissal of this action, which is of some public interest.



           Signed: August 29, 2014


                                              7

     Case 3:13-cv-00254-MOC-DSC Document 265 Filed 08/29/14 Page 7 of 7
